         Case 2:21-cv-08512 Document 1 Filed 04/07/21 Page 1 of 26 PageID: 1




Faugno & Associates, L.L.C.
Paul Faugno, Esq.
120 State Street
Hackensack, New Jersey 07601
Telephone: (201) 342-1969
Facsimile: (201) 342-2010
Paul@faugnolawfirm.com
Attorneys for Plaintiff, Emily D. Strife

                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY


 E.S.,

                                    Plaintiff,
                                                   Civil Action No.:
 v.
                                                       COMPLAINT AND
 ESSEX COUNTY, NEW JERSEY;                              JURY DEMAND
 ESSEX COUNTY DEPARTMENT OF
 CORRECTIONS; WARDEN OF THE
 ESSEX COUNTY JAIL, individually
 and in his official capacity; ESSEX
 COUNTY CORRECTIONS OFFICER
 SHAWN D. SHAW (SS), individually
 and in his official capacity; JANE DOES
 and JOHN DOES 1-10; and XYZ
 CORPORATIONS 1-10,

                                 Defendants.




         Plaintiff, E.S. by and through her attorneys, Faugno & Associates, L.L.C., for

her Complaint alleges as follows:



                                            1
     Case 2:21-cv-08512 Document 1 Filed 04/07/21 Page 2 of 26 PageID: 2




                                      PARTIES

      1.     Plaintiff is a citizen and resident of the State of Florida.

      2.     Defendant Essex County is a governmental body operating in the State

of New Jersey.

      3.     At all times relevant to the allegations herein, Defendant Essex County,

by and through each Defendant named in the caption thereunder, owned, operated,

controlled, or employed the entities and agents that caused harm upon Plaintiff,

including the Essex County Correctional Center.

      4.     At all times relevant to the allegations herein, Defendant Essex County,

by and through each Defendant named in the caption thereunder, owed, operated,

and controlled, and were responsible for providing supervision and control over the

entirety of the correctional facility in which Plaintiff was confined, including,

specifically, the area in which she was confined.

      5.     At all times relevant to the allegations herein, Defendant Essex County,

by and through each Defendant named in the caption thereunder, owed, operated,

and controlled, and were responsible for providing supervision and control over the

entirety of the correctional facility in which Plaintiff was confined, including,

specifically, the area in which she was confined and raped.




                                           2
      Case 2:21-cv-08512 Document 1 Filed 04/07/21 Page 3 of 26 PageID: 3




      6.     At all times relevant to the allegations herein, Plaintiff was in the

custody of Defendant Essex County, by and through each Defendant named

in the caption thereunder.

      7.     At all times relevant to the allegations herein, Officer Sean D. Shaw, an

agent servant and/or employee of Essex County, was responsible for monitoring th

e inmate population within which Plaintiff was confined.

      8.     At all times relevant to the allegations herein, Officer Shaw acted under

the color of law.

                          JURISDICTION AND VENUE

      9.     Plaintiff is suing under 42 U.S.C. § 1983 and, a civil rights law passed

by Congress that provides a remedy to persons who have been deprived of their

federal constitutional and statutory rights under color of state law.

      10.    The jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1343

to secure the protection of and to redress the deprivation of rights secured by the

Fourteenth Amendment to the United States Constitution as enforced by 42 U.S.C.

§ 1983 and 42 U.S.C. § 1988, which provides for the protection of all persons in

their civil rights and the redress of the deprivation of right under the color of law.

      11.    The jurisdiction of this Court is also invoked pursuant to 28 U.S.C. §

1331 in order to resolve a controversy arising under the Constitution or laws of the




                                           3
      Case 2:21-cv-08512 Document 1 Filed 04/07/21 Page 4 of 26 PageID: 4




United States, particularly the Fourteenth Amendment to the United States

Constitution at 42 U.S.C. § 1983.

      12.    This court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367

over all state claims pleaded herein.

      13.    This court has personal jurisdiction over Defendants.

      14.    Venue is proper in the District of New Jersey pursuant to 28 U.S.C. §

1391(b) because a substantial part of the events or omissions giving rise to Plaintiff’s

claims occurred in this District, most specifically Officer Shaw’s rape of Plaintiff.

                           FACTUAL BACKGROUND

      15.    On December 28, 2010, Shawn D. Shaw (hereinafater “SS”) was

employed as a corrections officer for the Essex County Department of Corrections

at the Essex County Jail. On that date, Plaintiff was an inmate at the Essex County

Jail. At approximately 2:45 a.m. on that date, SS opened Plaintiff’s cell door, entered

her cell, and raped her.

      16.    When SS raped Plaintiff, he was the only officer on duty on the female

tier and was logged into the computer console that controls the cell doors.

      17.    SS had worked back-to-back shifts because the Essex County

Corrections Facility was short-staffed. Though not normally assigned to the female

tier, he was assigned to cover the 10:00 p.m. to 6:00 a.m. shift.




                                           4
      Case 2:21-cv-08512 Document 1 Filed 04/07/21 Page 5 of 26 PageID: 5




       18.    During that shift, SS made sexually explicit comments to and

inappropriate advances on several inmates, including Plaintiff.

       19.    Inmate PB (hereinafter “PB”) has indicated that SS came to her cell and

offered her cigarettes in exchange for sexual intercourse on the night Plaintiff was

raped, which she declined. PB also indicated that SS asked whether “Snow Bunny,”

referring to Plaintiff, would do so. PB further indicated that SS, in addition to having

made his request to her in person, also made the same request over the intercom.

       20.    Inmate SR (hereinafter “SR”) has indicated that SS told her that he was

going to enter her cell and engage in sexual acts on the night that he raped Plaintiff.

She declined his advances and spent the night in fear of SS entering her cell and

assaulting her.

       21.    SS utilized the intercom several times to tell Plaintiff that he was going

to enter her cell and engage in explicit sex acts with her, repeatedly referring to her

as a “Becky,” which is a derogatory term for a white female.

       22.    When questioned about the incident, following a valid waiver of his

Miranda rights, SS repeatedly asserted that he never opened the cell door, never

entered the cell, and did not rape Plaintiff. The cell door records make it abundantly

clear that he lied.

       23.    Subsequent DNA testing confirmed that SS’s semen was in Plaintiff’s

vagina.

                                           5
      Case 2:21-cv-08512 Document 1 Filed 04/07/21 Page 6 of 26 PageID: 6




       24.    On December 30, 2010, fellow Inmate EM(hereinafter “EM”) informed

Defendant Essex County Department of Corrections, (hereafter “ECPC”), that

Plaintiff had been raped by SS. Two (2) days prior, Plaintiff had communicated to

him that SS had been “creepy,” and later that day communicated to him that SS had

used his body weight to pin her down.

       25.    On that same date, Plaintiff was interviewed by the ECPC and indicated

that SS came into her cell and raped her while she was telling him “don’t.” First,

after removing her pants and underwear, he penetrated her with his fingers, and then,

without protection, he inserted his penis and ejaculated inside of her vagina. He

then left.

       26.    In her interview, Plaintiff also indicated that on December 27, 2010 into

the morning hours of December 28, 2010, that, prior to SS raping her, that he referred

to her as “Becky” and asked: “Are you going to let me hit that?”

       27.    Fellow inmate LB (hereinafter “LB”) indicated that she heard SS state

over the intercom that “Becky, I’m going to eat your pussy.” Thereafter she fell

asleep and did not hear SS enter the cell, but did hear Plaintiff crying at some point

later in the night.

       28.    In an interview given on December 31, 2010, SS admitted to

working the shift at issue, but denied any contact with Plaintiff. Rather, he




                                           6
      Case 2:21-cv-08512 Document 1 Filed 04/07/21 Page 7 of 26 PageID: 7




indicated that while on shift he had watched a football game in the Central

Processing Unit (C.P.U.) and then taken not one (1), but two (2) naps.

      29.    The Door Report indicates that cell 2C1 204 was opened at 02:43:41

a.m. on December 28, 2010 and closed at 02:50:39 a.m. on the same date.

      30.    The status of SS with Essex County after the disclosure of the various

violations and rape committed against the Plaintiff is still the subject of investigation

and continuing discovery.

      31.    On October 7, 2013, following an investigation by the Federal Bureau

of Investigation (F.B.I.), a federal grand jury returned a two-count indictment against

SS charging him with one count of depriving Plaintiff of liberty without due process

of law by engaging in acts that constitute aggravated sexual abuse while acting under

the color of law, contrary to the provision of 18 U.S.C. § 242 (Count One); and one

count of obstruction of justice, contrary to the provisions of 18 U.S.C. § 1512(b)(3).

      32.    SS entered a plea of “not guilty” on November 6, 2013.

      33.    SS proceeded to a jury trial in the Federal District Court, and after the

conclusion of such, a guilty verdict was rendered and a judgment of conviction was

entered. SS appealed this matter to the Third Circuit, and the Third Circuit by

written opinion affirmed the conviction.        Upon information and belief, SS is

presently serving a 20 year sentence.




                                           7
      Case 2:21-cv-08512 Document 1 Filed 04/07/21 Page 8 of 26 PageID: 8




       34.    Plaintiff, forced to face her rapist in the spotlight of media attention and

cross-examination, testified as to her rape by SS and the failings of his employer and

its employees.

       35.    The Plaintiff, as a consequence of the rape and the aftermath was caused

to suffer severe emotional and physical injuries and symptoms, including but not

limited to post traumatic stress disorder, humiliation, indignity, sleep disturbance,

fatigue, depression, anxiety, poor concentration, and the same will persist for the

remainder of Plaintiff’s life, and Plaintiff has occurred and will continue to occur

expenses for medical and psychological treatment.

       36.    All appropriate statutory notices have been timely filed prior to the

institution of this action.

                              FIRST CAUSE OF ACTION

       37.    Plaintiff incorporates by reference all preceding paragraphs as if fully

restated here.

       38.    Defendant Shawn D. Shaw, an employee of Essex County and the

Essex County Department of Corrections, indisputably acted under color of state law

at all times relevant to the claims herein, using power that he possessed by virtue of

state law, as he was clothed in the authority of the state and misusing the authority

thereof.




                                            8
      Case 2:21-cv-08512 Document 1 Filed 04/07/21 Page 9 of 26 PageID: 9




      39.    While acting under color of state law, Defendant Shawn D. Shaw

deprived Plaintiff of her constitutional and statutory rights pursuant to 42

U.S.C. § 1983 and the Fourth and Fourteenth Amendments as they relate to

excessive force.

      40.    At all relevant times, there was no medical, legal, security, or other need

for Defendant Shawn D. Shaw to pin Plaintiff down and rape her.

      41.    By restraining her in such a manner and under the circumstances set

forth herein, Defendant Shawn D. Shaw used excessive force in violation of the

rights secured to her by the Fourth Amendment.

      42.    As a direct result of the aforementioned misconduct, Plaintiff sustained

the damages alleged herein, including compensatory and punitive damages,

attorney’s fees, and any other relief that the Court deems just and appropriate.

                         SECOND CAUSE OF ACTION

      43.    Plaintiff incorporates by reference all preceding paragraphs as if fully

restated here.

      44.    Defendant Shawn D. Shaw, an employee of Essex County and the

Essex County Department of Corrections, indisputably acted under color of state law

at all times relevant to the claims herein, using power that he possessed by virtue of

state law, as he was clothed in the authority of the state and misusing the authority

thereof.

                                           9
    Case 2:21-cv-08512 Document 1 Filed 04/07/21 Page 10 of 26 PageID: 10




      45.    While acting under color of state law, Defendant Shawn D. Shaw

deprived Plaintiff of her constitutional and statutory rights pursuant to 42 U.S.C. §

1983 and the Eighth and Fourteenth Amendments as they relate to excessive force.

      46.    At all relevant times, there was no medical, legal, security, or other need

for Defendant Shawn D. Shaw to pin Plaintiff down and rape her.

      47.    By restraining her in such a manner and under the circumstances set

forth herein, Defendant Shawn D. Shaw used excessive force in violation of the

rights secured to her by the Eighth Amendment.

      48.    As a direct result of the aforementioned misconduct, Plaintiff sustained

the damages alleged herein, including compensatory and punitive damages,

attorney’s fees, and any other relief that the Court deems just and appropriate.

                          THIRD CAUSE OF ACTION

      49.    Plaintiff incorporates by reference all preceding paragraphs as if fully

restated here.

      50.    Defendant Shawn D. Shaw, an employee of Essex County and the

Essex County Department of Corrections, indisputably acted under color of state law

at all times relevant to the claims herein, using power that he possessed by virtue of

state law, as he was clothed in the authority of the state and misusing the authority

thereof.




                                          10
     Case 2:21-cv-08512 Document 1 Filed 04/07/21 Page 11 of 26 PageID: 11




          51.   While acting under color of state law, Defendant Shawn D. Shaw

deprived Plaintiff of her constitutional and statutory rights pursuant to 42 U.S.C. §

1983 and the Fourteenth Amendment as it relates to substantive due process.

          52.   By restraining her in such a manner and raping her, and under the

circumstances set forth herein, Defendant Shawn D. Shaw deliberately engaged in

conduct that shocks the conscience.

          53.   As a direct result of the aforementioned misconduct, Plaintiff sustained

the damages alleged herein, including compensatory and punitive damages,

attorney’s fees, and any other relief that the Court deems just and appropriate.

                           FOURTH CAUSE OF ACTION

          54.   Plaintiff incorporates by reference all preceding paragraphs as if fully

restated here.

          55.   John Does 1-5 those with supervisory responsibilities over Officer

Shaw with deliberate indifference to the consequences, established and maintained

a policy, practice or custom which directly caused the violation of Plaintiff’s federal

rights.

          56.   John Does 1-5 those with supervisory responsibilities over Officer

Shaw should have adopted a practice in which Corrections Officers were only

permitted to supervise a unit with sufficient supervision of themselves.




                                            11
    Case 2:21-cv-08512 Document 1 Filed 04/07/21 Page 12 of 26 PageID: 12




      57.    John Does 1-5 those with supervisory responsibilities over Officer

Shaw should have adopted a practice in which units would be sufficiently staffed to

ensure the health, safety, and welfare of the inmates and Corrections Officers.

      58.    John Does 1-5 those with supervisory responsibilities over Officer

Shaw should have adopted a practice in which a single Corrections Officer would

not have sole control over the opening and closing of doors within a unit.

      59.    John Does 1-5 those with supervisory responsibilities over Officer

Shaw should have adopted a practice of hiring only officers who did not pose a risk

to the health, safety, and welfare of the inmates.

      60.    John Does 1-5 those with supervisory responsibilities over Officer

Shaw should have adopted a policy to ensure that Corrections Officers would not

have the opportunity to harass and intimidate the inmates.

      61.    John Does 1-5 those with supervisory responsibilities over Officer

Shaw should have adopted a policy to ensure that Corrections Officers would not

have the opportunity to sexually assault the inmates.

      62.    The existing customs and practices that described herein created an

unreasonable risk of harm to Plaintiff.

      63.    John Does 1-5 those with supervisory responsibilities over Officer

Shaw was aware that this unreasonable risk existed.




                                          12
    Case 2:21-cv-08512 Document 1 Filed 04/07/21 Page 13 of 26 PageID: 13




      64.    John Does 1-5 those with supervisory responsibilities over Officer

Shaw were deliberately indifferent to that risk and this along with other omissions

constitutes a de facto policy.

      65.    Defendant Shawn D. Shaw’s rape of Plaintiff resulted from John Does

1-5 those with supervisory responsibilities over Officer Shaw’s failure to adopt any

or all of the policies described herein.

      66.    As a direct result of the aforementioned misconduct, Plaintiff sustained

the damages alleged herein, including compensatory and punitive damages,

attorney’s fees, and any other relief that the Court deems just and appropriate.

                           FIFTH CAUSE OF ACTION

      67.    Plaintiff incorporates by reference all preceding paragraphs as if fully

restated here.

      68.    Plaintiff had a right to be safe and secure as an inmate of the Essex

County Correctional Center, and be free of risk of physical assault by agents,

servants and/or employees of Essex County and the Essex County Correctional

Center.

      69.    John Does 1-5, previously referenced, and John Does 6-10, various co-

employees of Officer Shaw had a duty to intervene both prior to the attack on the

Plaintiff when circumstances made it clear that such an attack was eminent, probable

and/or possible and further had a duty to intervene during the attack on the Plaintiff.

                                           13
    Case 2:21-cv-08512 Document 1 Filed 04/07/21 Page 14 of 26 PageID: 14




      70.    Upon information and belief, John Does 1-5 and John Does 6-10 had a

reasonable opportunity to intervene based upon the circumstances pre-existing the

rape and the rape itself.

      71.    All of these John Doe Defendants referenced in previous paragraphs

failed to intervene, in any fashion, and thereby was a proximate cause of the rape.

      72.    As a direct result of the aforementioned misconduct, Plaintiff sustained

the damages alleged herein, including compensatory and punitive damages,

attorney’s fees, and any other relief that the Court deems just and appropriate.

                            SIXTH CAUSE OF ACTION

      73.    Plaintiff incorporates by reference all preceding paragraphs as if fully

restated here.

      74.    The deprivation of Plaintiff’s rights under the United States

Constitution, resulted from Essex County’s official policy or custom, including the

widespread custom and well-settled practice of failing to adequately protect the

health, safety, and welfare of inmates.

      75.    The deprivation of Plaintiff’s rights under the United States

Constitution, resulted from Essex County’s official policy or custom, including

[inadequate training] [inadequate supervision] [inadequate screening during the

hiring process] [failure to adopt a needed policy].




                                          14
    Case 2:21-cv-08512 Document 1 Filed 04/07/21 Page 15 of 26 PageID: 15




      76.    Defendant      Essex   County’s   [inadequate    training]   [inadequate

supervision] [inadequate screening during the hiring process] [failure to adopt a

needed policy] Defendant Essex County’s “official policy or custom” of failing to

adequately protect the health, safety, and welfare of inmates made the violation of

Plaintiff’s rights under the US constitution which was a highly predictable

consequence of the [inadequate training] [inadequate supervision] [inadequate

screening during the hiring process] [failure to adopt a needed policy] and that

Defendant Essex County was deliberately indifferent thereto.

      77.    Defendant Essex County knew or should have known that the wide-

spread inadequacies in protecting the health, welfare, and safety of inmates would

result in constitutional injury.

      78.    As a direct result of the aforementioned misconduct, Plaintiff sustained

the damages alleged herein, including compensatory and punitive damages,

attorney’s fees, and any other relief that the Court deems just and appropriate.

                         SEVENTH CAUSE OF ACTION

      79.    Plaintiff incorporates by reference all preceding paragraphs as if fully

restated here.

      80.    Defendant Essex County’s training program was inadequate to train its

employees to carry out their duties.




                                         15
    Case 2:21-cv-08512 Document 1 Filed 04/07/21 Page 16 of 26 PageID: 16




      81.    Defendant Essex County’s failure to adequately train amounted to

deliberate indifference to the fact that inaction would result in the violation of

Plaintiff’s rights under the United States Constitution.

      82.    Defendant Essex County’s failure to adequately train proximately

caused the violation of Plaintiff’s rights under the United States Constitution.

      83.    As a direct result of the aforementioned misconduct, Plaintiff sustained

the damages alleged herein, including compensatory and punitive damages,

attorney’s fees, and any other relief that the Court deems just and appropriate.

                          EIGHTH CAUSE OF ACTION

      84.    Plaintiff incorporates by reference all preceding paragraphs as if fully

restated here.

      85.    Defendant Essex County failed to adequately supervise its employees.

      86.    Defendant Essex County’s failure to adequately supervise amounted to

deliberate indifference to the fact that inaction would result in the violation of

Plaintiff’s rights of the United States Constitution.

      87.    Defendant Essex County’s failure to adequately supervise proximately

caused the violation of Plaintiff’s rights of the United States Constitution.

      88.    As a direct result of the aforementioned misconduct, Plaintiff sustained

the damages alleged herein, including compensatory and punitive damages,

attorney’s fees, and any other relief that the Court deems just and appropriate.

                                          16
    Case 2:21-cv-08512 Document 1 Filed 04/07/21 Page 17 of 26 PageID: 17




                          NINTH CAUSE OF ACTION

      89.    Plaintiff incorporates by reference all preceding paragraphs as if fully

restated here.

      90.    Defendant Essex County failed to check adequately Defendant Shawn

D. Shaw’s background when hiring him.

      91.    Defendant Essex County’s failure to check adequately Defendant

Shawn D. Shaw’s background amounted to a deliberate indifference to the risk that

a violation of Plaintiff’s rights of the United States Constitution would follow the

hiring decision.

      92.    Defendant Essex County’s failure to check adequately Defendant

Shawn D. Shaw’s background proximately caused the violation of that federal right.

      93.    Adequate scrutiny of Defendant Shawn D. Shaw’s background would

have led a reasonable policymaker to conclude that it was obvious that hiring

Defendant Shawn D. Shaw would lead to the particular type of harm that Plaintiff

alleges, namely Plaintiff’s rights of the United States Constitution.

      94.    As a direct result of the aforementioned misconduct, Plaintiff sustained

the damages alleged herein, including compensatory and punitive damages,

attorney’s fees, and any other relief that the Court deems just and appropriate.




                                          17
    Case 2:21-cv-08512 Document 1 Filed 04/07/21 Page 18 of 26 PageID: 18




                          TENTH CAUSE OF ACTION

      95.    Plaintiff incorporates by reference all preceding paragraphs as if fully

restated here.

      96.    Defendant Shawn D. Shaw acted intending to cause a harmful or

offensive contact with the person of Plaintiff, or an imminent apprehension of such

a contact.

      97.    Plaintiff was thereby put in such imminent apprehension. A battery

necessarily includes a preceding assault and in addition extends to actual,

nonconsensual contact.

      98.    As a direct result of the aforementioned misconduct, Plaintiff sustained

the damages alleged herein, including compensatory and punitive damages,

attorney’s fees, and any other relief that the Court deems just and appropriate.

                       ELEVENTH CAUSE OF ACTION

      99.    Plaintiff incorporates by reference all preceding paragraphs as if fully

restated here.

      100. Plaintiff alleges that Defendants were negligent in the manner in which

they hired and supervised Defendant Shawn D. Shaw.

      101. Plaintiff further claims that as a result of Defendants’ negligence, she

was exposed to Defendant Shawn D. Shaw, a dangerous individual, who ultimately

raped her.

                                         18
    Case 2:21-cv-08512 Document 1 Filed 04/07/21 Page 19 of 26 PageID: 19




      102. As a direct result of the aforementioned misconduct, Plaintiff sustained

the damages alleged herein, including compensatory and punitive damages,

attorney’s fees, and any other relief that the Court deems just and appropriate.

                        TWELFTH CAUSE OF ACTION

      103. Plaintiff incorporates by reference all preceding paragraphs as if fully

restated here.

      104. The conduct of Defendants proximately caused a deprivation of

Plaintiff’s rights secured by the Fourth and Fourteenth Amendments to the United

States Constitution, Article I, paragraph 1 of the New Jersey Constitution, and New

Jersey state law, specifically N.J.S.A. 10:6-2c.

      105. Specifically, as set forth in detail above, Defendants deprived Plaintiff

of her constitutionally secured right of enjoying and defending life and liberty, of

acquiring, possessing, and protecting property, and of pursuing and obtaining safety

and happiness.

      106. At all times relevant herein, Defendants were acting under the color of

law and under the authority of the County of Essex.

      107. As a direct result of the aforementioned misconduct, Plaintiff sustained

the damages alleged herein, including compensatory and punitive damages,

attorney’s fees, and any other relief that the Court deems just and appropriate.




                                         19
    Case 2:21-cv-08512 Document 1 Filed 04/07/21 Page 20 of 26 PageID: 20




, Defendants were acting under the color of law and under the authority of the County

of Essex.

      112. As a direct result of the aforementioned misconduct, Plaintiff sustained

the damages alleged herein, including compensatory and punitive damages,

attorney’s fees, and any other relief that the Court deems just and appropriate.

                      THIRTEENTH CAUSE OF ACTION

      113. Plaintiff incorporates by reference all preceding paragraphs as if fully

restated here.

      114. Defendants, Essex County, Essex County Department of Corrections,

Warden of the Essex County Jail, Essex County Corrections Officers, Sean D. Shaw,

John Does 1-10 and actual and/or constructive knowledge of Defendant, Sean D.

Shaw’s sexually inappropriate conduct and the Defendants’ failed to reasonably

protect Plaintiff against such conduct on the basis of her sex, female, and permitted

this type of environment to fester within the Essex County Correctional Center.

      115. These Defendants violated New Jersey law against discrimination,

contained within N.J.S.A. 10:5-1 et seq., and by doing such created an intimidating,

offensive and hostile environment for the Plaintiff, all which fostered a culture by

which the rape of the Plaintiff occurred.

      116. Defendants, Essex County and Essex County Correctional Center, are

vicariously liable for the actions of its supervisory employees.

                                            20
        Case 2:21-cv-08512 Document 1 Filed 04/07/21 Page 21 of 26 PageID: 21




         117. Defendants, Essex County and Essex County Jail, knew or should have

known of the past conduct of the Defendant, Sean D. Shaw, and they failed to take

effective, immediate measures to end his offensive conduct.

         118. The conduct of Sean D. Shaw would not have occurred but for the

Plaintiff’s gender, female, a protective category of the New Jersey’s law against

discrimination.

         119. As a direct and proximate result of the breach and failures by these

Defendants, Plaintiff was caused to suffer bodily injury, emotional distress/injury,

and further injuries which will negatively effect Plaintiff for the remainder of her

life.

                        FOURTEENTH CAUSE OF ACTION

         120. Plaintiff incorporates by reference all preceding paragraphs as if fully

restated here.

         121. The Plaintiff, despite being incarcerated, was still entitled to her privacy

and is protected from unreasonable intrusions on the Plaintiff’s seclusion.

Defendant, Sean D. Shaw, as an agent, servant and/or employee of Essex County,

Essex County Department of Corrections, when he entered the cell of the Plaintiff

and raped her, committed a substantial invasion and interference with the Plaintiff’s

seclusion, and such would be highly offensive to an ordinary and reasonable person.




                                            21
    Case 2:21-cv-08512 Document 1 Filed 04/07/21 Page 22 of 26 PageID: 22




      122. At the time that Defendant, Sean D. Shaw, entered the cell of Plaintiff,

he potentially intruded into the Plaintiff’s seclusion without permission from the

Plaintiff, and such intrusion was the cause of the Plaintiff’s injuries.

      123. As a direct result of the aforementioned misconduct, Plaintiff sustained

the damages alleged herein, including compensatory punitive damages, attorneys’

fees and other relief that the Court deems just and appropriate.

                        FIFTEENTH CAUSE OF ACTION

      124. Plaintiff incorporates by reference all preceding paragraphs as if fully

restated here.

      125. Defendant, Sean D. Shaw, upon entering into the Plaintiff’s cell, and

forcibly raping her, committed an act of unlawful restraint against the Plaintiff.

      126. The physical restraint used against the Plaintiff was against the

Plaintiff’s will and when committed by the Defendant, Sean D. Shaw, was done with

the intention of restraining and constraining the movement of the Plaintiff, thereby

constituting an act of false imprisonment.

      127. As a direct result of the aforementioned misconduct, Plaintiff sustained

the damages alleged herein, including compensatory punitive damages, attorneys’

fees and any other relief that the Court deems just and appropriate.




                                          22
    Case 2:21-cv-08512 Document 1 Filed 04/07/21 Page 23 of 26 PageID: 23




                       SIXTEENTH CAUSE OF ACTION

      128. Plaintiff incorporates by reference all preceding paragraphs as if fully

restated here.

      129. The Plaintiff after the commission of the rape both individually and

through others sought to report the crime which had been committed against her, at

the hands of an agent, servant and employee of Essex County and the Essex County

Department of Corrections. However, her efforts were thwarted by a conspiratorial

arrangements by John Does 1-10, the Warden of the Essex County Jail and

Defendant, Sean D. Shaw.

      130. The actions taken in furtherance of this conspiracy, included but was

not limited to efforts to intimidate the Plaintiff, efforts to conceal evidence and

various other actions taken to dissuade the Plaintiff from proceeding with any further

disclosure of the wrong doings.

      131. The Plaintiff has rights under the United States Constitution and the

New Jersey State Constitution to report crimes which constitute an invasion of her

life, liberty and property interests. Through the actions of the various Defendants

calculated toward diminishing and obstructing the rights of the Plaintiff as set forth,

the Defendants effectively engage in a conspiracy giving rise to a cause of action for

damages under 42 U.S.C. 1985. This loss specifically prohibits conspiracies to

either deter, by force, threat, or intimidation, any party or witness from testifying

                                          23
    Case 2:21-cv-08512 Document 1 Filed 04/07/21 Page 24 of 26 PageID: 24




freely, fully and truthfully in a Federal Court or to injure any party because of her

intention to testify in Federal Court.

      132. As a direct result of the aforementioned misconduct, Plaintiff has

sustained the damages alleged herein, including compensatory punitive damages,

attorneys’ fees and other relief the Court deems just and appropriate.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests that this Court enter Judgment

in his favor against Defendants on all counts, awarding compensatory and punitive

damages, and also awarding court costs, attorney’s fees, and any other relief that the

Court deems just and appropriate.

                           JURY TRIAL DEMANDED

      Plaintiff requests a jury trial on all claims.

                                                Respectfully submitted,

                                                Faugno & Associates, L.L.C.
                                                Attorneys for Plaintiff,
                                                Emily D. Strife


Dated: April 7, 2021                            /s/ Paul Faugno
                                                Paul Faugno, Esq.




                                           24
    Case 2:21-cv-08512 Document 1 Filed 04/07/21 Page 25 of 26 PageID: 25




       CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 11.2

      I hereby certify that on this day, to the best of my knowledge, the matter in
controversy is not the subject of any other action pending in any court, or of any
pending arbitration or administrative proceedings.

      I certify under penalty of perjury that the foregoing is true and correct.

                                              Faugno & Associates, L.L.C.
                                              Attorneys for Plaintiff,
                                              Emily D. Strife


Dated: April 7, 2021                          /s/ Paul Faugno
                                              Paul Faugno, Esq.




                                         25
    Case 2:21-cv-08512 Document 1 Filed 04/07/21 Page 26 of 26 PageID: 26




      CERTIFICATION PURSUANT TO LOVAL CIVIL RULE 201.1

       I hereby certify that the above-captioned matter is not subject to compulsory
arbitration because Plaintiff’s claims are based on an alleged violation of a right
secured by the Constitution of the United States and Plaintiff’s damages are in excess
of $150,000.

      I certify under penalty of perjury that the foregoing is true and correct.

                                              Faugno & Associates, L.L.C.
                                              Attorneys for Plaintiff,
                                              Emily D. Strife


Dated: April 7, 2021                          /s/ Paul Faugno
                                              Paul Faugno, Esq.




                                         26
